                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TENNESSEE
                                         AT KNOXVILLE

   UNITED STATES OF AMERICA
                                                         Case No. 3:20-CR-21
           v.
                                                         JUDGES VARLAN / POPLIN
   ANMING HU


  GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION REGARDING RETRIAL

         On July 6, 2021, the Defendant filed a motion asking the Court to inquire of the

  Government whether it plans to pursue another trial in the above-captioned case. (Doc. 120).

  The United States respectfully requests the Court allow the United States until July 30, 2021 to

  respond. This additional period of time is needed to allow the U.S. Attorney’s Office and the

  National Security Division of the Department of Justice to thoroughly review the record in the

  case, consult with other Department of Justice components as appropriate, and to determine

  whether to pursue a retrial.

         Respectfully submitted on July 12, 2021.

                                                       FRANCIS M. HAMILTON III
                                                       ACTING UNITED STATES ATTORNEY


                                               By:     s/ Casey T. Arrowood
                                                       Casey T. Arrowood
                                                       Assistant United States Attorney
                                                       TN BPR# 038225
                                                       800 Market Street, Suite 211
                                                       Knoxville, TN 37902
                                                       (865) 545-4167
                                                       Casey.Arrowood2@usdoj.gov




Case 3:20-cr-00021-TAV-DCP Document 122 Filed 07/12/21 Page 1 of 1 PageID #: 2247
